        Case 1:20-cv-03919 Document 1 Filed 05/20/20 Page 1 of 7



GEOFFREY S. BERMAN
United States Attorney for the
Southern District of New York
By: SAGAR K. RAVI
     TIMOTHY D. CAPOZZI
Assistant United States Attorneys
One St. Andrew’s Plaza
New York, New York 10007

RICHARD E. ZUCKERMAN
Principal Deputy Assistant Attorney General
United States Department of Justice Tax Division
By: TODD A. ELLINWOOD, Assistant Chief
     NANETTE L. DAVIS, Senior Litigation Counsel
150 M Street, N.E.
Washington, DC 20002



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - -x

UNITED STATES OF AMERICA,             :

               Plaintiff,             :           VERIFIED COMPLAINT

            -v.-                      :           20 Civ. ___

$160,325,378 IN UNITED STATES         :
CURRENCY,
                                      :
               Defendant in rem.
- - - - - - - - - - - - - - - - - -x

     Plaintiff United States of America, by its attorneys,

GEOFFREY S. BERMAN, United States Attorney for the Southern

District of New York, and RICHARD E. ZUCKERMAN, Principal Deputy

Assistant Attorney General for the United States Department of

Justice Tax Division, for its Verified Complaint (the

“Complaint”) allege, upon information and belief, as follows:
        Case 1:20-cv-03919 Document 1 Filed 05/20/20 Page 2 of 7



                                     2

                      I.     JURISDICTION AND VENUE

          1.   This action is brought by the United States of

America pursuant to 18 U.S.C. § 981(a)(1)(C), seeking the

forfeiture of $160,325,378 in United States Currency (the

“Defendant Funds”).

          2.   This Court has jurisdiction pursuant to 28 U.S.C.

§§ 1345 and 1355.

          3.   Venue is proper pursuant to 28 U.S.C.

§ 1355(b)(1)(A) because acts and omissions giving rise to the

forfeiture took place in the Southern District of New York.

          4.   The Defendant Funds constitute proceeds of mail

and wire fraud, and are thus subject to forfeiture to the United

States pursuant to Title 18, United States Code, Section 981

(a)(1)(C).

                       II.    NATURE OF THE ACTION

          5.   As alleged in United States v. Bank Hapoalim B.M.

and Hapoalim (Switzerland) Ltd., 20 Cr. 262 (MKV) (the “Hapoalim

Information”, attached as Exhibit A and incorporated by

reference herein), from at least in or about January 2002 up

through and including at least in or about December 2014, Bank

Hapoalim B.M. (“BHBM”), an Israeli bank, and Hapoalim

(Switzerland) Ltd. (“BHS”), its Swiss subsidiary bank
        Case 1:20-cv-03919 Document 1 Filed 05/20/20 Page 3 of 7



                                   3

(collectively, “the Bank”), conspired with others known and

unknown to defraud the United States of certain taxes due and

owing by concealing from the United States Internal Revenue

Service (“IRS”) undeclared accounts owned by U.S. taxpayers at

the Bank.    On or about April 23, 2020, the United States

Attorney’s Office for the Southern District of New York and the

Department of Justice Tax Division (the “Offices”) and BHBM

entered into a deferred prosecution agreement (the “BHBM DPA,”

attached as Exhibit B and incorporated by reference herein).       On

or about April 23, 2020, the Offices and BHS entered into a plea

agreement (the “BHS Plea Agreement,” attached as Exhibit C and

incorporated by reference herein).

            6.   As set forth in the Statements of Facts, attached

as an exhibit to the BHBM DPA and BHS Plea Agreement and

incorporated by reference herein, the fraud conspiracy alleged

in the Hapoalim Information involved the use by U.S. taxpayer-

clients of the Bank of the U.S. mails, private or commercial

interstate carriers, or interstate wire communications to submit

individual federal income tax returns to the IRS that were

materially false and fraudulent in that these returns failed to

disclose the existence of such taxpayers’ undeclared accounts or

the income earned in such accounts.
        Case 1:20-cv-03919 Document 1 Filed 05/20/20 Page 4 of 7



                                    4

                       III. THE DEFENDANT-IN-REM

          7.      Under the DPA, BHBM agreed to forfeit

$35,696,929.    Under the Plea Agreement, BHS agreed to forfeit

$124,628,449.    The Bank, pursuant to the DPA and Plea Agreement,

transferred the Defendant Funds to the United States in the

Southern District of New York as a substitute res for gross

proceeds from its scheme to defraud the United States as set

forth in the Hapoalim Information.      The Bank agrees that the

Defendant Funds are subject to civil forfeiture to the United

States pursuant to 18 U.S.C. § 981(a)(1)(C) as proceeds of mail

and wire fraud.


                       IV.   CLAIM FOR FORFEITURE

          8.      The allegations contained in paragraphs one

through seven of this Verified Complaint are incorporated by

reference herein.

          9.      Title 18, United States Code, Section

981(a)(1)(C) subjects to forfeiture “[a]ny property, real or

personal, which constitutes or is derived from proceeds

traceable to a violation of . . . any offense constituting

‘specified unlawful activity’ (as defined in section 1956(c)(7)

of this title), or a conspiracy to commit such offense.”
        Case 1:20-cv-03919 Document 1 Filed 05/20/20 Page 5 of 7



                                   5

          10.   “Specified unlawful activity” is defined in 18

U.S.C. § 1956(c)(7) to include any offense under 18 U.S.C.

§ 1961(1).   Section 1961(1) lists as offenses both mail fraud

(18 U.S.C. § 1341) and wire fraud (18 U.S.C. § 1343).

          11.   By reason of the above, the Defendant Funds are

subject to forfeiture pursuant to Title 18, United States Code,

Section 981(a)(1)(C).

          WHEREFORE, plaintiff the United States of America

prays that process issue to enforce the forfeiture of the

defendant in rem and that all persons having an interest in the

defendant in rem be cited to appear and show cause why the

forfeiture should not be decreed, and that this Court decrees

forfeiture of the defendant in rem to the United States of

America for disposition according to law, and that this Court
         Case 1:20-cv-03919 Document 1 Filed 05/20/20 Page 6 of 7



                                    6

grant plaintiff such further relief as this Court may deem just

and proper.


Dated:    New York, New York
          May 5, 2020

                                  GEOFFREY S. BERMAN
                                  United States Attorney for
                                  Plaintiff United States of America


                            By:   ________________________________
                                  SAGAR K. RAVI
                                  TIMOTHY D. CAPOZZI
                                  Assistant United States Attorneys
                                  One St. Andrew’s Plaza
                                  New York, New York 10007
                                  (212) 637-2200

                                  RICHARD E. ZUCKERMAN
                                  Principal Deputy Assistant
                                  Attorney General for Plaintiff
                                  United States of America


                            By:
                                  ________________________________
                                  TODD A. ELLINWOOD, Assistant
                                  Section Chief
                                  NANETTE L. DAVIS, Senior
                                  Litigation Counsel
                                  (202) 616-9330/514-8030
          Case 1:20-cv-03919 Document 1 Filed 05/20/20 Page 7 of 7




                              VERIFICATION

     AMY LINDNER, pursuant to Title 28, United States Code,

Section 1746, hereby declares under penalty of perjury that she

is a Special Agent with the Internal Revenue Service, Criminal

Investigation; that she has read the foregoing Verified

Complaint and knows the contents thereof; that the same is true

to the best of her knowledge, information and belief; and that

the sources of her information and the grounds of her belief are

her personal involvement in the investigation, and conversations

with and documents prepared by law enforcement officers and

others.

Executed on May _8__, 2020.




                                   _______________________________
                                   AMY N. LINDNER
                                   Special Agent
                                   Internal Revenue Service,
                                   Criminal Investigation
